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 1    Steven J. Green
      sgreen@kginc.com
 2    KGI Advisors, Inc.
      12300 Wilshire Blvd; Suite 300
 3    Los Angeles, California 90025
      Telephone: (310) 829-0255
 4    Facsimile: (310) 453-6324
 5                     for the Official Committee of
      Financial Advisorfor                        of
      Unsecured Creditors of
                          of Kfir Gavrieli
 6

 7
                             UNITED STATES BANKRUPTCY COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9
                                       LOS ANGELES DIVISION
10

11    In re:                                           Case No.: 2:21-bk-10826-BB

12    KFIR GAVRIELI,                                   Chapter 11

13                                Debtor.

14
                                                       KGI ADVISORS, INC.'S
                                                                     INC.’S MONTHLY FEE
15                                                     APPLICATION FOR ALLOWANCE
                                                       AND PAYMENT OF INTERIM
16                                                     COMPENSATION AND
                                                       REIMBURSEMENT OF EXPENSES FOR
17                                                     THE PERIOD May 1-31, 2021
18

19                                                     [No Hearing Required Unless Requested
20                                                     Pursuant to Local Bankruptcy Rule 2014-1]

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 1          1.                          (“KGI”) submits its Monthly fee Application for Allowance and
                     KGI Advisors, Inc. ("KGI")
 2   Payment of Interim Compensation and Reimbursement of Expenses (the "Application")
                                                                        “Application”) for the
 3   Period May 1, 2021 through May 31, 2021 (the "Application
                                                  “Application Period")
                                                               Period”) for work performed for the
 4                                                                   “Committee”). In support of the
     Official Committee of Unsecured Creditors of Kfir Gavrieli (the "Committee").
 5   Application, KGI respectfully represents as follows:
 6          2.       KGI is financial advisor to the Committee. KGI hereby applies to the Court for
 7   allowance and payment of interim compensation for services rendered and reimbursement of
 8   expenses incurred during the Application Period.
 9          3.       KGI billed a total of $135,321.25 in fees and expenses during the Application
10   Period. The total fees represent 251.85 hours expended during the period covered by this
11   Application. These fees and expenses break down as follows:
12    Period                    Fees                    Expenses                 Total
13    May 1-31, 2021            $135,321.25             --                       $135,321.25
14

15          4.       For the postpetition period, KGI has been paid to date as follows:
16    Application Period                   Amount                        Description
17    11stst Monthly (April 14-30, 2021)   --
18    Total Paid to the Firm to Date       --
19
20          5.       To date, KGI is owed as follows (excluding amounts owed pursuant to this
21
     Application):
22
      Application Period                   Amount                        Description
23
      1st Monthly (April 14-30, 2021)
      1st                                  $59,812.50                    100% of Fees and Expenses
24
                                                                         for April 2021
25
      Total Owed to the Firm to Date       $59,812.50
26

27
            6.       Accordingly, KGI seeks interim allowance of fees in the amount of $135,321.25 and
28
     expenses in the amount of $0.00 at this time.
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 1          7.      KGI seeks payment of $108,257.00 at this time (80% of the fees for services
 2   rendered).
 3          8.      Attached as Exhibit A hereto is the name of each professional or paraprofessional
 4   who performed services in connection with this case during the period covered by the Application
 5   and the hourly rate for each such professional or paraprofessional. Attached as Exhibit B hereto
 6   are the detailed time and expense statements for the Application Period.
 7          9.      KGI has served a copy of this Application on the Office of the United States Trustee,
 8   the Debtor, counsel to the Debtor, the chapter 11 trustee and counsel to the chapter 11 trustee. The
 9   Application was mailed by first class mail, postage prepaid, on or about June 30, 2021. Notice of
10   the filing of this Application was served on the foregoing parties as well as any party who has
11   requested special notice in this chapter 11 case as of the date of the notice.
12          10.                      Court’s Order on Debtor's
                    Pursuant to this Court's          Debtor’s Motion Establishing Procedures for
                                                                                               for
13                   of Fees and Expense Reimbursement [D.I. 103], the Debtor is authorized to make
     Monthly Payment of
14   the payment requested herein without further hearing or order of the Court unless an objection to
15   this Application is filed with the Court and served upon the Notice Parties within ten (10) calendar
16   days after the date of mailing of the Notice of this Application. If such an objection is filed, the
17   Debtor is authorized to pay 80% of the uncontested fees and 100% of the uncontested expenses
18   without further order of the Court. If no objection is filed, the Debtor is authorized to pay 80% of
19   all fees and 100% of all expenses requested in this Application without further order of this Court.
20          11.     The interim compensation and reimbursement of expenses sought in this
21   Application is not final. Upon the conclusion of this case, KGI will seek fees and reimbursement
22   of the expenses incurred for the totality of the services rendered in this case. Any interim fees or
23   reimbursement of expenses approved by this Court and received by KGI will be credited against
24   such final fees and expenses as may be allowed by this Court.
25

26   WHEREFORE, KGI respectfully requests that the Debtor pay compensation to KGI as requested

27   herein pursuant to and in accordance with the terms of the Order on Debtors Motion Establishing

28              for Monthly Payment of
     Procedures for                 of Fees and Expense Reimbursement.

                                                       2
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 1

 2
      Dated: June 30, 2021                            KGI Advisors Inc.
 3

 4                                                    Stev        en
                                                      Financial Advisor for the Official Committee
 5                                                    of Unsecured Creditors
 6

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                                 EXHIBIT A
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        Name                Title           Hourly Rate           Hours
Steve Green        President                 $650.00              38.60
Gerry Seli         Managing Director         $525.00              207.50
Charles Copeland   Paraprofessional          $225.00               5.75
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                                 EXHIBIT B
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                                                                Invoice Date: O6/30/21
                                                                              06/#"/21

                                                                Invoice Number: 19464
                                                                                1946"




       For Professional Fees for the period: 5/1/2021 through 5/31/2021




                                      Professional Summary
Name                                                                   Hours           Rate     Amount
Charles Copeland                                                        5.75         225.00   $1,293.75
Steven J. Green                                                        38.60         650.00 $25,090.00
Gerry Sell
      Seli                                                            207.50         525.00 $108,937.50

           Professional Fees

                                                                                      Hours    Amount

            B110 - Administration

  5/24/2021 - SJG Review various emails among Hogan Lovells,                           0.70     455.00
                  Gerry and myself.

  5/27/2021 - GS      Reorganize KGI database of case filings and                      1.50     787.50
                      case data.


            SUBTOTAL:                                                        I[        2.20    1,242.50]

            B120 - Asset Analysis

   5/3/2021 - GS      Review and analysis of Debtor Plan of                            0.50     262.50
                      Reorganization, Disclosure Statement, and State
                      Court litigation documentation.




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                       Inc., 12300 Wilshire Blvd. Suite 300, Los Angeles, CA 90025
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                                                                                 Hours      Amount

5/4/2021 - GS    Review and analysis of Debtor Plan of                            0.60      315.00
                 Reorganization, Disclosure Statement, and State
                 Court litigation documentation.

5/5/2021 - GS    Review and analysis of financial information                     0.60      315.00
                 pertaining to Gavrieli Brands.

        - GS     Review and analysis of Debtor Plan of                            0.40      210.00
                 Reorganization, Disclosure Statement, and State
                 Court litigation documentation.


        SUBTOTAL:                                                       [[        2.10     1,102.50]

        B121 - Data and Financial

5/3/2021 - GS    Teleconference with B. Spiegel (Hogan Lovells)                   0.60      315.00
                 to discuss case issues, UCC information
                 requests, KGI near-term work plan, and status of
                 Debtor mediation proceedings.

        - GS     Review and analysis of Debtor's Amended                          0.50      262.50
                 Schedules of Assets and Liabilities.

        - GS     Teleconference with Steve Green to discuss case                  0.30      157.50
                 issues, KGI work planning, and Debtor real
                 estate investments.

        - SJG Prepare and call with Gerry and B. Spiegel                          0.90      585.00
              (Hogan Lovells) to discuss financial data and
              information from the Debtor, review Debtor real
              estate investments.

5/4/2021 - GS    Teleconference with Hogan Lovells and Steve                      0.70      367.50
                 Green to discuss case issues, UCC information
                 requests, UCC investigation report process, and
                 status of Debtor mediation proceedings.

        - GS     Review and analysis of the Debtor's Plan of                      0.50      262.50
                 Reorganization financial projections.




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                                                                                  Hours      Amount

5/4/2021 - SJG Prepare for call, discussion with Hogan Lovells                     0.70      455.00
               (B. Spiegel, R. Wynne) and Gerry regarding KGI
               scope of work for hearing for a Trustee.

5/5/2021 - GS     Teleconference with B. Spiegel (Hogan Lovells)                   0.30      157.50
                  to discuss case issues, UCC information
                  requests, UCC investigation report process, and
                  status of Debtor mediation proceedings.

         - SJG Review various emails, and UCC counsel                              0.30      195.00
               Trustee motion.

5/7/2021 - GS     Teleconference with B. Spiegel (Hogan Lovells)                   0.40      210.00
                  to discuss case issues, UCC information
                  requests, and UCC investigation report process.

         - GS     Review and analysis of the Debtor's Plan of                      1.50      787.50
                  Reorganization financial projections.

         - GS     Review and analysis of the Debtor's Schedules of                 1.50      787.50
                  Assets and Liabilities and SOFA's.

5/8/2021 - GS     Teleconference with B. Spiegel (Hogan Lovells)                   0.60      315.00
                  to discuss case issues, UCC information
                  requests, and UCC investigation report process.

         - GS     Review and analysis of the Debtor's Plan of                      0.70      367.50
                  Reorganization financial projections.

         - SJG Review and compile information for Debtor's                         0.70      455.00
               motion to support Steve Green as the
               "clearinghouse" for Gavrieli Brands financial
               information.

         - SJG Review and provide input for KGI data and                           1.10      715.00
               information request to the Debtor.

5/9/2021 - SJG Prepare for and call with R. Wynne (Hogan                           0.50      325.00
               Lovells) to discuss KGI scope of work, status of
               case.




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                                                                                  Hours      Amount

5/10/2021 - GS    Teleconference with Steve Green to discuss case                  0.50      262.50
                  issues, KGI work planning and information
                  requests, and UCC investigation report content
                  and process.

         - GS     Review case filings, Disclosure Statement, and                   1.00      525.00
                  Plan of Reorganization documents in connection
                  with UCC investigation.

         - SJG Review Daniel Murillo testimony transcripts from                    1.20      780.00
               October 18 and 23, 2019.

         - SJG Prepare and call with Gerry to discuss UCC                          0.50      325.00
               investigation, case strategies and next steps.

5/11/2021 - GS    Teleconferences with B. Spiegel (Hogan Lovells)                  0.80      420.00
                  to discuss case issues, UCC information
                  requests, and UCC investigation report process.

5/12/2021 - GS    Teleconferences with B. Spiegel (Hogan Lovells)                  0.80      420.00
                  to discuss case issues, UCC information
                  requests, UCC investigation report process, and
                  informal interview of the Debtor.

         - GS     Teleconference with Hogan Lovells, Debtor                        1.10      577.50
                  counsel, and Debtor financial advisor to discuss
                  case issues and the status of UCC information
                  requests in support of the UCC's investigation
                  report.

         - GS     UCC professionals (KGI and Hogan Lovells)                        1.80      945.00
                  video conference interview of the Debtor Kfir
                  Gavrieli (with Debtor counsel present) to discuss
                  various questions and information requests in
                  connection with the UCC's investigation,
                  including the Debtor's various prepetition
                  investment transactions, funding for the Debtor's
                  legal expenses, the POR "Back-Stop" revolving
                  line of credit, and the financial performance of
                  Gavrieli Brands.

         - SJG Review materials, provide input for interview call                  0.70      455.00
               with Debtor today.




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5/13/2021 - GS    Teleconference with E. McNeilly (Hogan Lovells)                  0.30      157.50
                  to discuss case issues and the UCC investigation
                  report process.

         - GS     Review prior State Court Litigation proceedings in               0.80      420.00
                  connection with the UCC investigation.

         - GS     Review Disclosure Statement and POR                              0.50      262.50
                  documents, and Unatin's Disclosure Statement
                  objection, in connection with the UCC
                  investigation.

         - GS     Teleconference with Steve Green to discuss case                  0.70      367.50
                  issues, UCC investigation report content and
                  process, and KGI informal interview of the Debtor.

         - SJG Prepare and discuss with Gerry interview call                       0.70      455.00
               with Debtor yesterday, and data and information
               for the UCC investigation report.

5/14/2021 - GS    Review case filings, Disclosure Statement, and                   1.80      945.00
                  Plan of Reorganization documents in connection
                  with UCC investigation.

         - GS     Review Debtor's Monthly Operating Report for                     0.30      157.50
                  the month of April 2021.

5/15/2021 - GS    Review case filings, Disclosure Statement, and                   1.30      682.50
                  Plan of Reorganization documents in connection
                  with UCC investigation.

5/16/2021 - GS    Review case filings, Disclosure Statement, Plan                  1.50      787.50
                  of Reorganization, and State Court litigation
                  documents in connection with UCC investigation.

5/17/2021 - GS    Review case filings, Disclosure Statement, Plan                  1.00      525.00
                  of Reorganization, and State Court litigation
                  documents in connection with UCC investigation.

         - GS     Teleconference with B. Spiegel (Hogan Lovells),                  0.40      210.00
                  Debtor counsel and Debtor financial advisor to
                  discuss UCC information requests and UCC
                  investigation report process.




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5/17/2021 - GS    Teleconferences with B. Spiegel (Hogan Lovells)                  0.70      367.50
                  to discuss case issues, UCC information
                  requests, UCC investigation report process, and
                  status of Debtor mediation.

         - SJG Review Debtor's April MOR.                                          0.60      390.00

         - SJG Review and compile notes from Motion to                             0.90      585.00
               Object to Compromise filed by Unatins dated
               5/17/2021.

         - SJG Review Debtor's Disclosure Statement dated                          1.30      845.00
               2/8/2021, and Unatins objections to Disclosure
               Statement dated 3/24/2021.

         - SJG Review Unatins case management conference                           1.10      715.00
               statement dated 3/31/2021, and Schecter
               declaration regarding objection to Debtor's
               Disclosure Statement.

5/18/2021 - GS    Review case filings, Disclosure Statement, Plan                  1.00      525.00
                  of Reorganization, and State Court litigation
                  documents in connection with UCC investigation.

         - GS     Teleconference with B. Spiegel (Hogan Lovells)                   0.70      367.50
                  and S. Tensmeyer (Holland Hart) to discuss the
                  Debtor investments adjudicated in State Court
                  litigation and UCC information requests.

         - GS     Teleconferences with B. Spiegel (Hogan Lovells)                  0.40      210.00
                  to discuss case issues, UCC information
                  requests, and UCC investigation report status
                  and content.

         - SJG Review Daniel Murillo deposition transcript dated                   1.20      780.00
               6/4/18, review various assets and transactions
               DMKG, AQP I, AQP II, Macon MB.

         - SJG Call with R. Wynne (Hogan Lovells) to review                        0.50      325.00
               case strategy and scope of UCC investigation
               report.




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5/19/2021 - GS    Review case filings, Disclosure Statement, Plan                  1.00      525.00
                  of Reorganization, and State Court litigation
                  documents in connection with UCC investigation.

         - SJG Analyze and vet elements of the Debtor's POR                        1.40      910.00
               financial projections.

5/20/2021 - GS    Review case filings, Disclosure Statement, Plan                  0.50      262.50
                  of Reorganization, and State Court litigation
                  documents in connection with UCC investigation.

         - GS     Teleconferences with B. Spiegel (Hogan Lovells)                  0.50      262.50
                  to discuss case issues, UCC information
                  requests, and UCC investigation report status
                  and content.

5/21/2021 - GS    Review case filings, Disclosure Statement, Plan                  0.50      262.50
                  of Reorganization, and State Court litigation
                  documents in connection with UCC investigation.

         - GS     Teleconferences with Debtor financial advisor to                 0.70      367.50
                  discuss UCC information requests pertaining to
                  the UCC investigation, the Debtor's Plan
                  Financial Projections, and the Debtor's
                  Schedules.

5/22/2021 - GS    Review case filings, Disclosure Statement, Plan                  0.50      262.50
                  of Reorganization, and State Court litigation
                  documents in connection with UCC investigation.

5/23/2021 - GS    Review case filings, Disclosure Statement, Plan                  0.50      262.50
                  of Reorganization, and State Court litigation
                  documents in connection with UCC investigation.

         - GS     Review and analysis of the Debtor's Plan of                      2.00     1,050.00
                  Reorganization financial projections and
                  Schedules.

5/24/2021 - GS    Review case filings, Disclosure Statement, Plan                  1.00      525.00
                  of Reorganization, and State Court litigation
                  documents in connection with UCC investigation.




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5/24/2021 - GS    Review and analysis of the Debtor's Plan of                      1.00      525.00
                  Reorganization financial projections and
                  Schedules.

5/27/2021 - GS    Review case filings documents in connection with                 1.50      787.50
                  UCC investigation report.

         - GS     Teleconference with Steve Green to discuss KGI                   0.70      367.50
                  UCC investigation report, case issues, and KGI
                  work plan going forward.

         - SJG Call with Gerry to review UCC investigation                         0.70      455.00
               report and update case strategies.


         SUBTOTAL:                                                       [        50.40    28,335.00]

         B123 - Valuation Analysis

 5/3/2021 - GS    Teleconference with Debtor financial advisor to                  0.60      315.00
                  discuss KGI information requests and Debtor real
                  estate asset valuation methodologies.

         - GS     Analysis of Debtor real estate assets reported                   1.60      840.00
                  values, and accounting and supporting
                  documentation.

 5/4/2021 - GS    Analysis of Debtor real estate assets reported                   0.80      420.00
                  values, and accounting and supporting
                  documentation.

 5/5/2021 - GS    Analysis of Debtor investment assets reported                    0.80      420.00
                  values, and accounting and supporting
                  documentation.

 5/6/2021 - GS    Analysis of Debtor investment assets reported                    1.00      525.00
                  values, and accounting and supporting
                  documentation.

 5/7/2021 - GS    Analysis of Debtor investment assets reported                    3.50     1,837.50
                  values, and accounting and supporting
                  documentation.




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 5/7/2021 - SJG Research and analyze third-party real estate                        0.70      455.00
                valuations and cap rates.

         - SJG Review and assess valuations and cap rates for                       0.50      325.00
               Debtor's real estate assets.

 5/8/2021 - GS     Analysis of Debtor investment assets reported                    2.80     1,470.00
                   values, and accounting and supporting
                   documentation.

5/10/2021 - GS     Analysis of Debtor investment assets reported                    2.50     1,312.50
                   values, and accounting and supporting
                   documentation.

5/11/2021 - GS     Analysis of Debtor investment assets reported                    2.00     1,050.00
                   values, and accounting and supporting
                   documentation.

5/12/2021 - GS     Analysis of Debtor investment assets reported                    1.00      525.00
                   values, and accounting and supporting
                   documentation.

5/13/2021 - GS     Analysis of Debtor investment assets reported                    1.80      945.00
                   values, and accounting and supporting
                   documentation.

5/14/2021 - GS     Analysis of Debtor investment assets reported                    2.50     1,312.50
                   values, and accounting and supporting
                   documentation.

5/15/2021 - GS     Analysis of Debtor investment assets reported                    1.40      735.00
                   values, and accounting and supporting
                   documentation.

5/16/2021 - GS     Analysis of Debtor investment assets reported                    1.30      682.50
                   values, and accounting and supporting
                   documentation.

5/17/2021 - GS     Analysis of Debtor investment assets reported                    3.00     1,575.00
                   values, and accounting and supporting
                   documentation.




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5/18/2021 - GS    Analysis of Debtor investment assets reported                    2.50     1,312.50
                  values, and accounting and supporting
                  documentation.

5/19/2021 - GS    Analysis of Debtor investment assets reported                    3.00     1,575.00
                  values, and accounting and supporting
                  documentation.

         - SJG Research and analyze valuation and financial                        1.30      845.00
               metrics for Gavrieli Brands.

         - SJG Review and analysis of various Debtor asset                         0.80      520.00
               valuation data for UCC investigation report.

         - SJG Review Debtor's response to UCC information                         0.70      455.00
               requests regarding Cryptocurrency, Cleopatra,
               and Gavrieli Brands financial statements dated
               12/31/2019.

5/20/2021 - GS    Analysis of Debtor investment assets reported                    2.00     1,050.00
                  values, and accounting and supporting
                  documentation.

5/21/2021 - GS    Analysis of Debtor investment assets reported                    2.00     1,050.00
                  values, and accounting and supporting
                  documentation.

         - SJG Review and analyze Sunrise Oil and Permian                          0.90      585.00
               Yield investment memoranda.

5/22/2021 - GS    Analysis of Debtor investment assets reported                    3.00     1,575.00
                  values, and accounting and supporting
                  documentation.

         - SJG Review and assess valuation for FDLSF,                              1.80     1,170.00
               Permian, AQP I and II, and Live Oak.

5/23/2021 - GS    Analysis of Debtor investment assets reported                    1.50      787.50
                  values, and accounting and supporting
                  documentation.




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5/24/2021 - GS    Analysis of Debtor investment assets reported                    1.50      787.50
                  values, and accounting and supporting
                  documentation.

5/25/2021 - GS    Analysis of Debtor investment assets reported                    1.00      525.00
                  values, and accounting and supporting
                  documentation.

5/26/2021 - GS    Analysis of Gavrieli Brands LLC ("Company")                      3.00     1,575.00
                  financial performance trends and valuation of
                  Debtor's interest in Company, and supporting
                  documentation.


         SUBTOTAL:                                                       [        52.80    28,557.50]

         B124 - Claims Analysis and Rec

 5/8/2021 - GS    Review and analysis of the Debtor's filed Proof of               0.80      420.00
                  Claims and Claims Register.

5/17/2021 - GS    Analysis of Debtor claims reported amounts and                   1.00      525.00
                  supporting documentation.

5/18/2021 - GS    Analysis of Debtor claims reported amounts and                   2.00     1,050.00
                  supporting documentation.

5/19/2021 - GS    Analysis of Debtor claims reported amounts and                   1.00      525.00
                  supporting documentation.

5/20/2021 - GS    Analysis of Debtor claims reported amounts and                   2.00     1,050.00
                  supporting documentation.

5/21/2021 - GS    Analysis of Debtor claims reported amounts and                   1.50      787.50
                  supporting documentation.

         - SJG Review claims documents: IRS and FTB priority                       0.90      585.00
               tax claims, and various secured claims.

5/22/2021 - GS    Analysis of Debtor claims reported amounts and                   1.50      787.50
                  supporting documentation.




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5/23/2021 - GS    Analysis of Debtor claims reported amounts and                   2.00     1,050.00
                  supporting documentation.

5/24/2021 - GS    Analysis of Debtor claims reported amounts and                   1.00      525.00
                  supporting documentation.

5/25/2021 - GS    Analysis of Debtor claims reported amounts and                   1.00      525.00
                  supporting documentation.


         SUBTOTAL:                                                       [[       14.70     7,830.00]

         B127 - Drafting Declarations

 5/7/2021 - GS    Draft detailed UCC information request list for the              2.50     1,312.50
                  Debtor in connection with the UCC investigation
                  report.

 5/8/2021 - GS    Draft detailed UCC information request list for the              1.20      630.00
                  Debtor in connection with the UCC investigation
                  report.

5/11/2021 - GS    Draft updated UCC information request list                       1.20      630.00
                  reflecting information received from the Debtor in
                  connection with the UCC investigation report.

5/14/2021 - GS    Review and compile updated status of                             0.40      210.00
                  outstanding UCC information requests in
                  connection with the UCC investigation report.

5/15/2021 - GS    Develop template and outline for UCC                             1.30      682.50
                  investigation report.

5/16/2021 - GS    Draft UCC investigation report.                                  5.20     2,730.00

5/17/2021 - GS    Draft UCC investigation report (KGI scope,                       2.00     1,050.00
                  engagement, work plan to date, and key
                  assumptions sections).

         - GS     Draft UCC investigation report (key prepetition                  3.00     1,575.00
                  transactions sections).




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5/17/2021 - GS    Draft UCC investigation report (various assets                   3.00     1,575.00
                  and investments sections).

         - GS     Teleconference with Debtor financial advisor to                  0.10          52.50
                  discuss UCC information requests related to the
                  Debtor's real estate investments.

5/18/2021 - GS    Draft UCC investigation report (key prepetition                  4.00     2,100.00
                  transactions sections).

         - GS     Draft UCC investigation report (various assets                   4.00     2,100.00
                  and investments sections).

         - GS     Teleconferences with Debtor financial advisor to                 0.70      367.50
                  discuss UCC information requests related to the
                  Debtor's investments.

5/19/2021 - GS    Draft UCC investigation report (key prepetition                  5.00     2,625.00
                  transactions sections).

         - GS     Draft UCC investigation report (various assets                   5.00     2,625.00
                  and investments sections).

         - GS     Teleconferences with Debtor financial advisor to                 0.10          52.50
                  discuss UCC information requests related to the
                  Debtor's investments.

5/20/2021 - GS    Draft UCC investigation report (key prepetition                  5.00     2,625.00
                  transactions sections).

         - GS     Draft UCC investigation report (various assets                   5.00     2,625.00
                  and investments sections).

         - GS     Teleconferences with Debtor financial advisor to                 0.20      105.00
                  discuss UCC information requests pertaining to
                  the UCC investigation, the Debtor's Plan
                  Financial Projections, and the Debtor's
                  Schedules.

         - SJG Review and edit initial drafts of the KGI scope,                    1.10      715.00
               engagement, disclaimers and key assumptions
               sections for the UCC investigation report.




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5/21/2021 - GS    Draft UCC investigation report (key prepetition                  6.00     3,150.00
                  transactions sections).

         - GS     Draft UCC investigation report (various assets                   5.00     2,625.00
                  and investments sections).

         - SJG Review and edit initial drafts of the KGI scope,                    1.60     1,040.00
               engagement, disclaimers and key assumptions
               sections for the UCC investigation report.

5/22/2021 - GS    Draft UCC investigation report (key prepetition                  4.00     2,100.00
                  transactions sections).

         - GS     Draft UCC investigation report (various assets                   4.00     2,100.00
                  and investments sections).

         - GS     Draft UCC investigation report (secured and                      2.00     1,050.00
                  unsecured claims sections).

         - GS     Teleconference with Debtor financial advisor to                  0.40      210.00
                  discuss UCC information requests pertaining to
                  the UCC investigation, the Debtor's Plan
                  Financial Projections, and the Debtor's
                  Schedules.

         - SJG Review and edit KGI drafts of UCC investigation                     1.70     1,105.00
               report sections regarding Dan Nir transactions,
               FDLSF, AQP I and II, Live Oak.

         - SJG Review and edit KGI drafts of UCC investigation                     1.60     1,040.00
                                            "#'$%(& related
               report sections regarding J. Sanberg
               transactions and Gavrieli Brands.

5/23/2021 - GS    Draft UCC investigation report (various                          3.00     1,575.00
                  prepetition transactions, assets and investments
                  sections).

         - GS     Draft UCC investigation report (secured and                      4.00     2,100.00
                  unsecured claims sections).

         - GS     Draft UCC investigation report (Plan funding and                 2.00     1,050.00
                  financial projections sections).




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5/23/2021 - GS    Teleconference with B. Spiegel (Hogan Lovells)                   0.20      105.00
                  to discuss case issues, UCC information
                  requests, and UCC investigation report status
                  and content.

         - GS     Teleconference with Debtor financial advisor to                  0.50      262.50
                  discuss UCC information requests pertaining to
                  the UCC investigation, the Debtor's Plan
                  Financial Projections, and the Debtor's
                  Schedules.

         - SJG Review and edit KGI drafts of UCC investigation                     1.20      780.00
               report sections regarding WaveHealth, Jefferson,
               Exposition and FairClaims.

         - SJG Review and edit KGI drafts of UCC investigation                     1.30      845.00
               report sections regarding priority tax claims (IRS,
               FTB), various secured claims, and various
               unsecured claims.

5/24/2021 - GS    Draft UCC investigation report (secured and                      1.00      525.00
                  unsecured claims sections).

         - GS     Draft UCC investigation report (Plan funding and                 3.00     1,575.00
                  financial projections sections).

         - GS     Draft UCC investigation report (various                          3.50     1,837.50
                  prepetition transactions, assets and investments
                  sections).

         - GS     Draft UCC investigation report (KGI engagement,                  1.00      525.00
                  scope, work plan to date, key assumptions and
                  disclaimers, and key conclusions sections).

         - GS     Teleconference with B. Spiegel (Hogan Lovells)                   1.70      892.50
                  to discuss case issues, UCC information
                  requests, and UCC investigation report content.

         - GS     Teleconference with Debtor financial advisor to                  0.80      420.00
                  discuss UCC information requests pertaining to
                  the UCC investigation, the Debtor's Plan
                  Financial Projections, and the Debtor's
                  Schedules.




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5/24/2021 - SJG Review and edit KGI drafts of UCC investigation                     0.80      520.00
                report section regarding Funding the Plan.

          - SJG Review and edit KGI drafts of UCC investigation                     0.80      520.00
                report sections regarding Cryptocurrency, income
                tax refunds, and Macon MB.

          - SJG Review and edit KGI draft of entire UCC                             1.40      910.00
                investigation report of over 100 pages.

5/25/2021 - GS     Draft UCC investigation report (secured and                      3.00     1,575.00
                   unsecured claims sections, Plan funding and
                   financial projections sections).

          - GS     Draft UCC investigation report (various                          3.00     1,575.00
                   prepetition transactions, assets and investments
                   sections).

          - GS     Draft UCC investigation report (various report                   3.00     1,575.00
                   edits in preparation for final distribution).

          - GS     Teleconference with B. Spiegel (Hogan Lovells)                   1.80      945.00
                   to discuss case issues, UCC information
                   requests, and UCC investigation report content.

          - SJG Review and edit updated drafts of UCC                               1.30      845.00
                investigation report, comments from Hogan
                Lovells, approve and sign the final report
                submitted to the Court.

5/26/2021 - GS     Draft UCC investigation report Addendum.                         2.00     1,050.00

          - GS     Teleconference with B. Spiegel (Hogan Lovells)                   0.40      210.00
                   to discuss case issues, UCC information
                   requests, and UCC investigation report content.

          - GS     Teleconference with Debtor financial advisor to                  0.30      157.50
                   discuss UCC information requests pertaining to
                   the UCC investigation.

          - SJG Review, assess and edit addendum to UCC                             0.60      390.00
                investigation report regarding Gavrieli Brands.




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                                                                                   Hours       Amount


          SUBTOTAL:                                                        [[      117.90    63,572.50]

          B160 - Fee/Employment App

5/21/2021 - SJG Draft and edit KGI April monthly invoice.                            1.10      715.00

5/24/2021 - CC      Prepare KGI invoice for the month of April 2021                  2.75      618.75
                    fee application.

5/26/2021 - GS      Prepare KGI invoice for the month of April 2021                  1.50      787.50
                    fee application.

5/27/2021 - GS      Prepare KGI invoice for the month of April 2021                  2.50     1,312.50
                    fee application.

          - GS      Teleconference with E. McNeilly (Hogan Lovells)                  0.10          52.50
                    to KGI fee application.

          - CC      Prepare KGI invoice for the month of April 2021                  3.00      675.00
                    fee application.

          - SJG Review and edit April invoice.                                       0.80      520.00


          SUBTOTAL:                                                        [        11.75     4,681.25]

          For professional fees rendered                                           251.85 $135,321.25




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KGI Advisors Inc - Matter: Kfir Gavrieli

For the period May 1, 2021 - May 31, 2021




Professional/Task                                  Total Hours         Total Amount

Charles Copeland                                         5.75           $     1,293.75

Fee/Employment Applications                              5.75           $     1,293.75



Steve Green                                            38.60            $    25,090.00

Case Administration                                     0.70            $      455.00
Asset Analysis and Recovery                             0.00            $
Data and Financial Projections Analysis                15.00            $     9,750.00
Valuation Analysis                                      6.70            $     4,355.00
Claims Analysis and Recovery                            0.90            $       585.00
Financing Transaction Analysis                          0.00            $
Drafting Declarations and Reports                      13.40            $     8,710.00
Fee/Employment Applications                             1.90            $     1,235.00



Gerry Seli                                            207.50            $   108,937.50

Case Administration                                     1.50            $       787.50
Asset Analysis and Recovery                             2.10            $     1,102.50
Data and Financial Projections Analysis                35.40            $    18,585.00
Valuation Analysis                                     46.10            $    24,202.50
Claims Analysis and Recovery                           13.80            $     7,245.00
Financing Transaction Analysis                          0.00            $
Drafting Declarations and Reports                     104.50            $    54,862.50
Meetings of and Communications with Creditors           0.00            $
Fee/Employment Applications                             4.10            $     2,152.50
Plan and Disclosure Statement                           0.00            $




Total                                                 251.85            $   135,321.25
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

1999 Avenue of the Stars, Suite 1400, Los Angeles, California 90067

A True and correct copy of the foregoing document(s) entitled (specify):

KGI Advisors, Inc.'s
              Inc.’s Monthly Fee Application for Allowance and Payment of Interim Compensation and
Reimbursement of Expenses for the Period May 1-31, 2021

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 30, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                       IZI Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) June 30, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                       IZI Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 30, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                       IZI Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 30, 2021 Tracy Southwell                                                 /s/ Tracy Southwell
 Date                               Printed
                                    Printed Name                               Signature




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                                               In re Kfir Gavrieli
                                           Case No: 2:21-bk-10826-BB


                                               SERVED VIA NEF


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             7245@ecf.pacerpro.com
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Kfir Gavrieli
11771 Montana Ave., #215
Los Angeles, CA 90049

Eryk R. Escobar
Office of the United States Trustee
915 Wilshire Blvd., Suite 1850
Los Angeles, CA 90017

Steptoe & Johnson
Attn: Jeffrey M. Reisner, Kerri Lyman,
& Josh Taylor
663 West Fifth Street, Suite 1900
Los Angeles, CA 90071




                                          SERVED VIA OVERNIGHT
                                                     OVERNIGHT

Honorable Sheri Bluebond
United States Bankruptcy Court
255 E. Temple Street, Suite 1534
Los Angeles, CA 90012




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